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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
                       Plaintiff,             )
                                              )
        vs.                                   )      Cause No. 3:08-cr-0030-RLY-WGH
                                              )
 JUSTIN MCGHEE,                               )
                                              )
                       Defendant.             )


                MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

        This matter is before the undersigned U. S. Magistrate Judge pursuant to the Order entered

 by the Honorable Richard L. Young on April 10, 2013, designating this Magistrate Judge to conduct

 a hearing on the Petition for Warrant or Summons for Offender Under Supervision filed with the

 Court on February 20, 2013 (“Petition”), and to submit proposed Findings of Facts and

 Recommendation for disposition under Title 18 U.S.C. §§3401(i) and 3583(e). Proceedings took

 place on April 11, 2013, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure.1

 Defendant Justin McGhee appeared in person with his appointed counsel, William H. Dazey, Jr., and

 the government appeared by Joe H. Vaughn, Assistant United States Attorney. U. S. Parole and

 Probation appeared by Jason Phillips, U.S. Parole and Probation Officer, who participated in the

 proceedings.

        On April 11, 2013, the Court held an initial hearing and conducted the following procedures

 in accordance with Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583:


        1
         All proceedings were recorded by suitable sound recording equipment unless otherwise
 noted. See Title 18 U.S.C. §3401(e).
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        1. William H. Dazey, Jr., Office of the Indiana Federal Community Defender, was present

 and appointed by the Court to represent Mr. McGhee in regard to the pending Petition.

        2. A copy of the Petition was provided to Mr. McGhee and his counsel, who informed the

 Court that they had read and understood the violations listed in the Petition and waived further

 reading thereof.

        3. Mr. Mcghee was advised of his right to a preliminary hearing and its purpose in regard

 to the alleged specified violations of his supervised release contained in the pending Petition.

        4. Mr. McGhee was advised he would have a right to question witnesses against him at the

 preliminary hearing unless the Court, for good cause shown, found that justice did not require the

 appearance of a witness or witnesses.

        5. Mr. McGhee was advised he had the opportunity to appear at the preliminary hearing and

 present evidence on his own behalf.

        6. That if the preliminary hearing resulted in a finding of probable cause that Mr. McGhee

 had violated an alleged condition or conditions of his supervised release set forth in the Petition, he

 would be held for a revocation hearing before the undersigned Magistrate Judge, in accordance with

 the District Court’s designation.

        7. Mr. Dazey stated that Mr. McGhee would stipulate there is a basis in fact to hold him on

 the specifications of violations of supervised release set forth in the Petition. Mr. McGhee executed

 a written waiver of the preliminary hearing, which was accepted by the Court.

        8. Mr. McGhee, by counsel, stipulated that he committed the specified violations set forth

 in the Petition, filed with the Court as follows:




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        Violation Number       Nature of Noncompliance

                1              “The defendant shall refrain from any unlawful use of a controlled
                               substance.”

                2              “The defendant shall refrain from excessive use of alcohol and shall not
                               purchase, possess, use, distribute, or administer any controlled substance
                               or any paraphernalia related to any controlled substances, except as
                               prescribed by a physician.”

                3              “The defendant shall not frequent places where controlled substances are
                               illegally sold, used, distributed, or administered.”

                               As previously reported to the Court, the offender submitted a urine sample
                               which tested positive for marijuana on April 26, 2012. He admitted using
                               the substance.

                               On January 16, 2013, the offender submitted a urine screen which tested
                               positive for synthetic cannabinoids. He admitted using “spice.”
                               During a home exam performed at the offender’s residence on January 16,
                               2013, a package of Dank Herbal Potpourri was found in plain view on top
                               of the offender’s dresser. Mr. McGhee was visibly under the influence of
                               an intoxicant that evening, which he later admitted was “spice.”

                4              “The defendant shall participate in a substance abuse treatment program,
                               which may include no more than eight drug tests per month, and shall
                               pay a portion of the fees.”

                               As previously reported to the Court, the offender failed to report for random
                               drug testing on February 22, May 9, 11, and 26, 2012.

                               Additionally, Mr. McGhee failed to report for random drug testing on
                               January 15, 17, 23, 27, 29, and February 7, 2013.

        The Court placed Mr. Mcghee under oath and directly inquired of Mr. McGhee whether he

 admitted violations of the specifications of his supervised release set forth above. Mr. McGhee

 stated that he admitted the above violations as set forth above.

        Counsel for the parties further stipulated to the following:

                1)      Mr. McGhee has a relevant criminal history category of I, U.S.S.G.

                §7B1.4(a).



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                2)      The most serious grade of violation committed by Mr. McGhee constitutes

                a Grade C violation, pursuant to U.S.S.G. §7B1.1(b).

                3)      Pursuant to U.S.S.G. §7B1.4(a) upon revocation of supervised release, the

                range of imprisonment applicable to Mr. McGhee is 3-9 months.

                4)      Mr. McGhee’s supervised release should be modified.

        The parties then presented testimony and argument regarding the extent to which Mr.

 McGhee’s supervised release should be modified. Mr. McGhee testified in support of his counsel’s

 argument that his supervised release should be modified to include a period of home detention. U.S.

 Probation Officer Phillips testified in support of the government’s argument that Mr. McGhee’s

 supervised release should be modified to include a period of up to 120 days at the Volunteers of

 America (“VoA”).

        The Court, based on its concern that Mr. McGhee would be alone on home detention and

 would benefit from the structure of the VoA, then found that the appropriate disposition of the case

 would be modification of defendant’s supervised release as follows:

        (a) For a period of time up to 120 days, the Defendant will reside at the VoA where he will
        follow all rules given to him by the VoA and U.S. Probation.

        (b) During Mr. McGhee’s residence at the VoA, U.S. Probation shall review Mr. McGhee’s
        compliance with the rules of the VoA every 30 days.

        (c) Should U.S. Probation determine that Mr. McGhee has fully complied with the rules of
        the VoA, Mr. McGhee could be released from the VoA prior to the completion of the 120
        day period, at the discretion of U.S. Probation.

        (d) All of the other terms and conditions of Mr. McGhee’s supervised release in full force
        and effect.

        The Court, having heard the admissions of the defendant, the stipulations of the parties, and

 the arguments and discussions on behalf of each party, NOW FINDS that the Defendant, JUSTIN

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 MCGHEE, violated the specified conditions of supervised release as delineated above and in the

 Petition. The Defendant’s supervised release is therefore MODIFIED as set forth above.

        WHEREFORE, the U. S. Magistrate Judge RECOMMENDS the Court adopt the above

 recommendation modifying JUSTIN MCGHEE’s Supervised Release.

        IT IS SO RECOMMENDED this 04/15/2013




                                                _______________________________
                                                Denise K. LaRue
                                                United States Magistrate Judge
                                                Southern District of Indiana




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